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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
              v.                           )       CAUSE NO. 2:19CR140-PPS
                                           )
MICHAEL A. CHRISTIANSON,                   )
                                           )
       Defendant.                          )

                                 OPINION AND ORDER

       A criminal defendant has a right to know what he is charged with. The Sixth

Amendment to the United States Constitution requires that in a criminal prosecution,

“the accused shall enjoy the right...to be informed of the nature and cause of the

accusation.” Count 1 of the indictment against Michael Christianson charges him with

transporting visual depictions of minors engaged in sexually explicit conduct. The

charges are based on three books authored by Christianson, consisting of hundreds of

pages and hundreds of images, the vast majority of which do not even arguably meet

that standard. But rather than leave Christianson to guess which images he must be

prepared to defend against, I will require the government to identify on the record

which are images allegedly within the ambit of Count 1.

       Federal Rule of Criminal Procedure 7(f) authorizes me to “direct the government

to file a bill of particulars.” At the final pretrial conference held May 6, 2021, I raised a

question about the government’s identification of the particular images that are charged
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in Count 1 of the indictment as visual depictions of minors engaging in sexually explicit

conduct. I have observed, and the government has acknowledged, that the books

contain many images that are not chargeable as child pornography. The upshot of the

discussion on May 6 was that the government would now file the list of charged images

that was previously produced to one of Christianson’s attorneys before he waived

counsel. As of this writing, the list has not been filed.

       As a deadline for its filing may not have been set, I will now expressly require

that a list in the nature of a bill of particulars be filed and served on Christianson

forthwith, no later than May 20, 2021. The list must identify all the images the

government may contend at trial are visual depictions involving a minor engaging in

sexual explicit conduct. The list should describe each image and indicate where it is

found in which book, such as by page number and, if necessary, position on the page.

The government should assess whether the previously produced list suffices or whether

a new list must be prepared to satisfy these requirements.

       ACCORDINGLY:

       No later than Thursday, May 20, 2021, the government shall file a bill of

particulars in compliance with this opinion.

       SO ORDERED.

       ENTERED: May 17, 2021.

                                            /s/ Philip P. Simon
                                           UNITED STATES DISTRICT JUDGE



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